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           EXHIBIT 5
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                                        Expert Report
                                                    of
             GLENN W. PERDUE, MBA, CVA, MAFF, CLP




                           Submitted on behalf of the Plaintiff in the matter of:




                      LONE STAR TECHNOLOGICAL INNOVATIONS, LLC
                                      (Plaintiff)

                                                    vs.

                                    ASUSTEK COMPUTER INC.
                                         (Defendant)


                                Case No. 6:19-cv-00059-RWS
      In the United States District Court for the Eastern District of Texas, Tyler Division




                                                Submitted:

                                  Wednesday, September 2, 2020
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                 assessment of licensing-related information for comparable and analogous
                 technology supports the entire unit being used as the appropriate basis for
                 assessing the royalty base as discussed later in this report.

             16. Additionally, I understand the following from my discussion with Dr.
                 Ducharme:

                    i. Color and color accuracy matter to users of monitors;

                   ii. Calibration is usually required to obtain desired colors;

                  iii. Users of Accused Devices will use the patented technology at least once
                       after their purchase;

                  iv. According to various sources, color calibration/adjustment is
                      recommended after 200-300 hours of use (about once a month) or every 2-6
                      weeks.

         (C) Timeline

             17. The following provides a timeline summary relevant to the calculation of
                 damages: 7

                     August 6, 2001: Application filed with USPTO for patent-in-suit

                     April 20, 2004: ‘435 patent issued by USPTO

                     March 2013: The first month for which financial information related to the
                     Accused Devices was provided. Based on this information, I understand this
                     is considered to be the date of first infringement.

                     February 20, 2019: filing date of Original Complaint in this matter and date of
                     “actual notice” per paragraph 18 of the Amended Complaint.

                     September 3, 2019: filing date for the Amended Complaint.

                     March 15, 2021: Trial date per Amended Docket Control Order issued
                     3/12/2019.

                     October 24, 2022: Expiration date of the ‘435 patent per counsel.




 7Information cited in the timeline section was obtained through the patent-in-suit, the Complaint and
 other sources as cited above.


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                   I understand this capability is embodied in Accused Devices through
                   calibration/adjustment functions for individual colors that provides benefits
                   discussed in the factors that follow below.

                   Factor 11: The extent to which the infringer has made use of the invention; and
                   any evidence probative of the value of that use.

                   Dr. Ducharme indicated that he obtained an Asus ProArt PA328Q Monitor to
                   conduct some of his analysis as to use of the patented invention.

                   In reviewing the web page for this product, I noted the following product
                   overview: 33



                              ASUS ProArt PA328Q Professional
                              Monitor - 32" 4K UHD(3840 x
                              2160), IPS, Color Accuracy ᶭE< 2,
                              Flicker free
                       x      Professional-grade 32-inch 4K/UHD display with four times the pixel density of
                              Full HD displays.
                       x      Factory pre-calibrated, industry-leading color accuracy with 100% sRGB and
                              Rec. 709 color space support.
                       x      Extensive connectivity with HDMI, DisplayPort 1.2, and MHL 3.0 for smooth
                              4K/UHD content playback.
                       x      ASUS Eye Care Technology with TÜV Rheinland-certified Flicker-free
                              technology which eliminates onscreen flicker
                       x      Adjust for maximum comfort with ergonomic tilt, swivel, pivot and height
                              adjustments plus wall-mount capability. PA328Q is a recipient of a 2014 Red
                              Dot Award for its outstanding design.

                   I understand that the color accuracy noted in the heading (Color Accuracy ᶭE<
                   2) and the second bullet point above (Factory pre-calibrated, industry-leading
                   color accuracy with 100% sRGB and Rec. 709 color space support) both relate to
                   the patented feature. I also understand that this calibration capability is used not
                   only by consumers, but as part of the quality control process before the monitor
                   leaves the factory. I noted similar and additional discussion of these features on
                   the “specifications” page. 34

                   The Defendant’s promotion of the patented feature coupled with the history of
                   sales and profits for the Accused Devices supports its value to, and extent of use
                   by, Asus.


 33   https://www.asus.com/us/Monitors/ProArt-PA328Q/ - accessed 8/31/2020
 34   https://www.asus.com/us/Monitors/ProArt-PA328Q/specifications/ - accessed 8/31/2020


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      IV.     REASONABLE ROYALTY DAMAGE CALCULATION

              26. In the preceding discussion I provide support for the appropriateness of a
                  royalty rate being applied to net revenue after an      apportionment reduction.
                  This leads to the reasonable royalty calculations in Exhibit 5.

              27. The same reasonable royalty results could also be obtained by adjusting the
                  royalty rate downward instead of adjusting the royalty base. Under this
                  approach, the effective royalty rate would be          This reduced royalty rate
                  would be applied directly to net revenue (without apportionment) to obtain the
                  same results noted in Exhibit 5.

              28. Exhibit 5 presents two sets of calculations given potential rulings by the trier of
                  fact that may include certain periods but not others. 36 The final calculation in
                  Section B extends through expiration of the ‘435 patent.

 Respectfully Submitted,




 Glenn W. Perdue
 Wednesday, September 2, 2020




  Post-trial damage calculations in Section (B) do not consider enhanced damages that could be awarded
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 due to willfulness or other factors.


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